January 3, 2005


Ms. Brandy R. Manning
Turner Davis &amp; Gerald, P.C.
P.O. Box 2796
Midland, TX 79702

Mr. David L. Kundysek
5646 Milton, Ste. 422
Dallas, TX 75206
Mr. Randy M. Clapp
Duckett, Bouligny Collins, L.L.P
P.O. Box 1567
El Campo, TX 77437

RE:   Case Number:  02-0455
      Court of Appeals Number:  13-00-00574-CV
      Trial Court Number:  35,708

Style:      J. HIRAM MOORE, LTD.
      v.
      MARY GREER

Dear Counsel:

      Today the Supreme Court of Texas issued a revised  dissenting  opinion
containing a revision. in the above-referenced-case.  See enclosed  red-line
copy and clean copy of the revised dissenting opinion.


      Encl:
                       Sincerely,
                       [pic]


                       Andrew Weber, Clerk


                       by Nancy J. Vega, Chief Deputy Clerk

|cc:|Ms. Evelyn Kramr        |
|   |Ms. Cathy Wilborn       |
|   |Mr. George S. Christian |
|   |Mr. Stuart C. Hollimon  |
|   |Ms. Emily Harrison      |
|   |Liljenwan               |
|   |Mr. Craig W. Hathway    |
|   |Mr. Terry E. Hogwood    |
|   |Mr. Jerry David Hall    |


